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                                                                            04-CV-2018-9003111.00
                                                                             CIRCUIT COURT OF
                                                                        AUTAUGA COUNTY,ALABAMA
                                                                            DEBRA HILL,CLERK
            IN TILE CIRCUIT COURT OF AUTAUGA COUNTY,ALABAMA

LOIS RHODES,as the Personal                      )
Representative of the Estate                     )
Of BILLY JOE RHODES,                             )
                                                 )
       Plaintiff,                                )
v.                                               )       CIVIL ACTION NO.
                                                 )
ALLSTATE INSURANCE COMPANY,                      )
INC.,a corporation, Defendant"A," that           )
Insurance company that wrote an                  )
"Accidental Death Policy" that was .             )
In force and Effect on or about                  )
April 29,2014,in Prattville,                     )
Autauga County, Alabama;                         )
Defendant "B",that person,firm                   )
Or corporation that caused, permitted,           )
Or allowed the contract of insurance             )
With reference to "Accidental Death"             )
On the life of Billy Joe Rhodes to be            )
Breached on the occasion complained of           )
Herein, whose true names are otherwise           )
Unknown and will be supplied by                  )
Amend men t with ascertained.                    )
                                                 )
       Defendants.                               )

                                       COMPLAINT

                               GENERAL ALLEGATIONS

       1.     The Plaintiff, Lois Rhodes, is a citizen of Autauga County, Alabama, and, as

stated above, brings this action as the Personal Representative of the Estate of her deceased

husband, Billy Joe Rhodes.

       2.     The Defendant, Allstate Insurance Company, is an insurance company that issued

a contract of "Accidental Death" insurance on the life of the Plaintiffs deceased husband and

was doing business in the State of Alabama, Autauga County,on the occasion complained of.
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                                          DOCUMENT 2




       3.      The Plaintiff, Lois Rhodes, is bringing this action for that heretofore on, to-wit,

April 30, 2014, at the Prattville Health and Rehabilitation Nursing Home in Prattville, Autauga

County, Alabama, the Plaintiffs husband met his death as a result of an "accidenr at said

nursing facility.

       4.      On said occasion, the Plaintiffs husband, having been sent there for rehabilitation

purposes, was a resident ofsaid nursing home and in his nursing home bed, apparently fell out of

the bed in an "accident." The personnel of said nursing home found the Plaintiffs husband in an

un-responsive condition kneeling in a position facing the head ofthe bed with a C-Pap and body

fluids on the floor beneath said bed, with his left arm tangled in the bed rail, with multiple skin

tears on the left arm. In addition thereto, his right leg was turned outward was re-positioned

wherein, and whereby, the staff started trying to resuscitate the said deceased husband with CPR,

to no avail.

       5.      Subsequent thereto, the death certificate issued by the treating physicians

indicated that the Plaintiffs husband suffered a "myocardial infarction." The Plaintiff avers that

said myocardial infarction was as a direct result of the "accident" in the fall frorn the bed which

percipitated the trauma to his system associated with, or causing, the myocardial infarction,

hence this claim for breach ofcontract against the named and fictitious defendants.

       6.      The Plaintiff further shows unto this Honorable Court that the policy/certificate

number of the Allstate Life Insurance Company policy, that was in force and effect, was

0596328489619, and the defendants have failed or refused to honor the Plaintiffs claim with

reference thereto, hence this claim.
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                                           COUNT ONE

                                        (Breach of Contract)

         1.     Plaintiff hereby adopts by reference and incorporates herein all of the material

averments set forth above as though fully set out herein.

         2.    Plaintiff further avers that the Defendant has willfully failed or refused to honor

the Plaintiffs claim for breach a contract concerning insurance benefits as a result of a

"accidental death" inasmuch as ordinary plain common sense establishes that the accident in

fal ling out of the bed precipitated the myocardial infarction which resulted in the death of the

Plaintiffs testate, hence this claim.

                                           COUNT TWO

                        (Plaintiffs Claim for Bad Faith Refusal to Pav)

         1.    Plaintiff further adopts by reference and incorporates herein all averments set

forth above as though fully set out herein.

         2.    Plaintifffurther claims punitive damages of this Defendant inasmuch as they were

notified of the PlaintifPs claim during the year of 2014 and has refused, either through red tape

or otherwise, to honor said claim.

         WHEREFORE, Plaintiff claims of the named and fictitious Defendants, both

compensatory and punitive damages for breach of contract and bad faith refusal to pay pursuant

to the laws ofthe State of Alabama. Said sum of money claimed is in excess ofthe jurisdictional

requirements of this Honorable Court, but should be adequate to reimburse the Plaintiff herein

for the losses sustained as well as punish the defendants for their willful refusal to pay, hence this

claim.
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                                      DOCUMENT 2




This the 17th day of December,2018.



                                        /s/ William W.Smith
                                        William W.Smith (SMI021)
                                        Attorney for Plaintiff

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